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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               FLORENCE DIVISION


FRANK SEARCH and ROBERT ROSE,
on behalf of themselves and all others
similarly situated,

                     Plaintiffs,

      v.                                            Docket No.: 4:18-CV-01941-RBH

MATERIAL TRANSPORT, LLC,
a domestic corporation, and
KIMBERLY M. CHERRY, an individual,

                     Defendants.


                          MOTION FOR JUDGMENT BY DEFAULT

       Plaintiffs Frank Search and Robert Rose, by and through undersigned counsel, hereby

move this Court, pursuant to Federal Rule of Civil Procedure 55(a), to enter a Judgment by

Default in favor of Plaintiffs and against Defendants Material Transport, LLC, and Kimberly M.

Cherry, jointly and severally, on the grounds that said Defendants failed to answer or otherwise

defend or respond to the Complaint.

Dated: January 31, 2019                          Respectfully submitted,

                                                 DOUGALL & COLLINS

                                                 /s/ Michal Kalwajtys
                                                 Michal Kalwajtys (SC Bar # 100950)
                                                 1700 Woodcreek Farms Road
                                                 Elgin, SC 29045
                                                 (803) 865-8858 (office)
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                                                 mkalwajtys@dougallfirm.com

                                                 Attorneys for Plaintiffs
                                                 Frank Search and Robert Rose
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                               CERTIFICATE OF SERVICE

       I hereby certify that, on this 31st day of January, 2019, a copy of the foregoing Motion

for Judgment by Default, along with supporting documents, having first been filed on this

Court’s CM/ECF System, were sent via First Class mail to Defendants at the following address:


       Material Transport LLC and Kimberly Cherry
       1651 Gator Ally
       Conway, SC 29557


                                               /s/ Patrick S. Almonrode
                                                 Patrick S. Almonrode




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